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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

                                                 §
RHIMCO INDUSTRIES, INC.,                         §
                                                 §
        Plaintiff,                               §
                                                 §
v.                                               §           Civil Action No. 4:15-cv-00860-O
                                                 §
SENTRY INSURANCE A MUTUAL                        §
COMPANY,                                         §
                                                 §
        Defendant.                               §
                                                 §

                                              ORDER

        Before the Court is the parties’ Joint Motion for Dismissal with Prejudice (ECF No. 34),

filed August 17, 2016. The parties notified the Court that this case has been fully settled and as part

of the settlement, each party agrees to dismiss with prejudice all asserted claims and counterclaims.

Accordingly, it is ORDERED that this case is DISMISSED with prejudice, and each party shall

pay their own attorney’s fees and court costs.

        SO ORDERED on this 18th day of August, 2016.




                                                     _____________________________________
                                                     Reed O’Connor
                                                     UNITED STATES DISTRICT JUDGE
